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10
   Michael Simmons, Jonathan W. Supler, and
11 Donald Nappi

12
                         UNITED STATES DISTRICT COURT
13                     SOUTHERN DISTRICT OF CALIFORNIA
14
   MICHAEL P. KOBY, an individual;        )         CASE NO.: 3:09-cv-00780-KSC
15                                        )
   MICHAEL SIMMONS, an individual;        )
16 JONATHAN W. SUPLER, an                 )
                                          )
17 individual; DONALD NAPPI, an           )
   individual; on behalf of themselves and)
18 all others similarly situated,         )
                                          )
19                                        )
                 Plaintiffs,              )        STIPULATION OF DISMISSAL
20                                        )
           vs.                            )
21                                        )
     ARS NATIONAL SERVICES, INC., a )
22                                        )
     California Corporation; and JOHN AND )
23   JANE DOES 1 through 25 inclusive,    )
                                          )
24               Defendants.              )
                                          )
25
           Plaintiffs, Michael P. Koby, Michael Simmons, Jonathan W. Supler, and
26
     Donald Nappi, and Defendant, ARS National Services, Inc. stipulate that the claims
27
     of the Plaintiffs be and hereby are dismissed with prejudice and the claims of the
28

                                    STIPULATION OF DISMISSAL
                                                                           3:09-cv-00780-KSC
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 1   members of the putative class are dismissed without prejudice.
 2

 3                                           SCHROTH SCHROTH & MADIGAN
 4                                                   --and--
                                             STERN•THOMASSON LLP
 5                                           Attorneys for Plaintiffs, Michael P. Koby,
 6                                           Michael Simmons, Jonathan W. Supler, and
                                             Donald Nappi
 7

 8   Dated: July 30, 2018                    By:       s/ Philip D. Stern
 9                                                           Philip D. Stern
10
                                             GORDON REES SCULLY MANSUKHANI LLP
11                                           Attorneys for Defendant, ARS National
12                                           Services, Inc.
13
     Dated: August 1, 2018                   By:       s/ Sean P. Flynn
14                                                           Sean P. Flynn
15

16

17                             CERTIFICATE OF SERVICE
18
            I, Philip D. Stern, hereby affirm under the penalties of perjury that on August
19   8, 2018, I served the within documents and all supporting papers on the Clerk of
20   this Court using this Court’s CM/ECF system. I also certify that the forgoing
     documents are being served this day on all counsel of record and Parties to this
21   action in the manner specified, either via transmission of Notice of Electronic
22   Filing generated by CM/ECF or in some other authorized manner for those counsel
     or parties who have not yet appeared or are otherwise not authorized to receive
23   electronic Notices of Electronic Filing.
24
                                                            s/ Philip D. Stern
25                                                           Philip D. Stern
26

27
28
                                                -2-
                                     NOTICE OF SETTLEMENT
                                                                             3:09-cv-00780-KSC
